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                                IN THE UNITED STATES DISTRICT COURT


                       FOR THE                                   DISTRICT OF VIRGINIA.

                         COMPLAINT UNDER CIVIL RIGHTS ACT 42 U.S.C.§ 1983                           CLERK.


                                             Action Number 320cv 066
                                            (To be supplied by the Clerk U.S. District Court)

         Please fill out this complaint form completely. The court needs the information requested in order to assure
that your complaint is processed as quickly as possible and that all your claims are addressed. Please print/write
legibly or type.

                                                   I. PARTIES
A. Plaintiff:



         1-      (a)                    VJ
                                                      (Name)

                 (^)JMo£S3.
                                                 (Inmate Number)

                 fcl                TT S-h\i't PrlSoA/



                                                     (Address)
          Plaintiff MUST keep the Clerk of Court notified of any change of address due to transfer or release. If
plaintiff fails to keep the Clerk informed ofsuch change, this action may be dismissed.

B.       Defendant(s):
        Plaintiff is advised that only persons acting under color of state law are proper defendants under section
1983. The Commonwealth of Virginia is immune under the Eleventh Amendment.

          Private parties such as attorneys and other inmates may not be sued under section 1983. In addition,
liability under section 1983 requires personal action by the defendant that caused you harm. Normally, the Director
of the Department of Coifections, wardens and sheriffs are not liable under section 1983 just because they supervise
persons who may have violated your rights. These persons are liable only if they were personally involved in the
alleged deprivation. In addition, prisons, jails, and departments within an institution are not persons under section
1983.


         1.      (a) Dr-,ArOokS
                                                            (Name)

                 (b)                             Dacj4t3t
                                                       (Title/job description)

                 (c) Ai,x.<ie.yL IT S^A-le.

                       \/JA\/^^lyy \/a. 3.3
                                                           (Address)
                                                                                                     FE3 I 0
                                                                                                       ;    OiS [K(v,"
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        2.       (a) /J/A
                                                               (Name)

                 (b)
                                                        (Title/job description)

                 (c)



                                                            (Address)


                 (a) h!
                                                                (Name)

                 (b)
                                                         (Title/job description)

                 (c)



                                                            (Address)
        If there are additional defendants, please list them on a separate sheet of paper. Provide all identifying
information for each defendant named.

         Plaintiff MUST provide an address for defendant(s) in order for the court to serve the complaint. If plaintiff
does not provide an address for a defendant, that person may be dismissed as a party to this action.

        In addition, plaintiff MUST provide a copy of the completed compliant and any attachments for EACH
defendant named.


                                         n.          PREVIOUS LAWSUITS

         A. Have you ever hegun other lawsuits in any state or federal court relating to your imprisonment?
                  Yes[ ] No
         B.       If your answer to A is YES; You must describe any lawsuit, whether currently pending or closed,
in the space below.[If there is more than one lawsuit, you must describe each lawsuit on another sheet of paper,
using the same outline, and attach hereto.]

     A//»



                   1. Parties to previous lawsuit:
Plaintiffs)
Defendants(s) A///A
                  2. Court[iffederal court, name the district; if state court, name the county]:

h^A
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                 3. Date lawsuit filed: A///I
                 4. Docket number:              A

                 5. Name ofjudge to whom case was assigned:


                 6. Disposition[Was case dismissed? Appealed? Is it still pending? What relief was granted, if
        any?]:

                 6J/A
                                         III. GRIEVANCE PROCEDURE

        At   what    institution   did    the       events    concerning    your    current   complaint   take   place?
—                              Prl<ofJ^                                            ngr-,V€^
allSlL
        B. Does the institution listed in A. have a grievance procedure?             Yes       []
        C. If your answer to B. is YES:
                 1. Did you file a grievance based on this complaint? Yes            Mo[ ]
                 2. If so, where and when:




                 3. What was the result? /Iy                       uy/i.<

                 4. Did you appeal?                      Yes |i/f^No[ ]
                 5. Result of appeal:                        O/^e. ^r-i e.\//</J c.<l                 u/A.5 up-
kdic/.

        D. If there was no prison grievance procedure in the institution, did you complain to the prison authorities?
        Yes[ ] No[ 1
        If your answer is YES: What steps did you take? A//A




E.   If your answer is No; explain why you did not submit your complaint to the prison authorities.
 A//A
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                                      IV.STATEMENT OF THE CLAIM

        [State here as briefly as possible the facts of your case. Describe how each defendant is involved and how
you were harmed by their actions. Also include the names of any other persons involved, dates and places of events.
You may cite constitutional amendments you allege were violated, but DO NOT give any legal arguments or cite
any cases or statutes. If you intend to allege several related claims, number and set forth each claim in a separate
paragraph.]

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                                                                              (Attach additional sheets if necessary)
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                                                     V. RELIEF

         I understand that in a section 1983 action the court cannot change my sentence, release me from custody or
re^re good time. I understand I should file a petition for writ of habeas corpus if I desire this type of relief.
Ly,lAf^ [please initial]
         The plaintiff wants the court to:[check those remedies you seek]

            i/ award money damages in the amount ofS Tro /                                      a4          ^
                     grant injunctive relief by




                     O^T^Ojff- of pockfij e)ip&A,se.S 'C^fjAi4tirA/e^Pe.e'( 'Pr£AA,^Po.%4-
                      -Mp             lawful rAh..
                                         VL PLACES OF INCARCERATION

         Please list the institutions at which you were incarcerated during the last six months. If you were
transferred during this period, list the date(s) of transfer. Provide an address for each institution.

                "7Z~               PriSOA/.



                                                   VII. CONSENT

        CONSENT TO TRIAL BY A MAGISTRATE JUDGE: The parties are advised of their right, pursuant to
28 U.S.C. § 636 (C), to have a U.S. Magistrate Judge preside over a trial, with appeal to the U.S. Court of Appeals
for the Fourth Circuit.


DO YOU CONSENT TO PROCEED BEFORE A U.S. MAGISTRATE:                                Yes[ ] No
         You may consent at any time; however, any early consent is encouraged.
                                                  Vni. SIGNATURE

         If there is more than one plaintiff, each plaintiff must sign for himselfor herself.


         Signed this ^ day of                                   202A.

         Plaintiff
                                                         SIGNATURE)
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